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May 21, 2019

Honorable Elizabeth 8. Stong
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, NY 11201

RE: Martha Perdomo
Chapter 7
Case Number: 18-45836
SD&B File Number: 16-054330

Dear Judge Stong:

This loss mitigation status letter is submitted on behalf of Nationstar Mortgage LLC as Servicer
for Deutsche Bank National Trust Company, as Trustee for Morgan Stanley ABS Capital I Inc.
Trust 2005-HE3 Mortgage Pass-Through Certificates, Series 2005-HE3 (“Nationstar”), a secured
creditor of the above-referenced Debtor, concerning the property located at 132-14 Horace
Harding Expressway, Flushing, NY 11367 (the “Property”).

Nationstar initially filed an Objection to Loss Mitigation (ECF Doc. No. 16, filed November 21,
2018, the “Objection”), which was heard on February 12, 2019. At the February 12, 2019
hearing, the Debtor’s Attorney advised that the Debtor is now seeking a short sale of the
Property. This Court then granted loss mitigation.

Nationstar requires that all proposed short sales be reviewed in the Equator system of record,
which is publicly available to real estate brokers. As of February 18, 2019, the Debtor had a short
sale review initiated in Equator. However, the Debtor never submitted a complete short sale
package in Equator. As such, as of April 18, 2019, Nationstar had closed out the short sale
review due to incomplete documentation.

At the hearing held on April 25, 2019, counsel for Nationstar discussed the twelve year
delinquency and the list price of $425,000, which is well below Nationstar’s most recent
estimated valuation of $943,000. Additionally, the parties discussed the lack of a short sale offer
and Nationstar’s entered Judgment of Foreclosure & Sale.

As of May 13, 2019, Nationstar still did not have a complete short sale package in the Equator

system of record. In fact, a step in which the Debtor’s broker could put information about the
Property was past due since April 29, 2019.

ATTORNEYS AT LAW

 

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Additionally, please note that our firm never received a courtesy copy of a fully executed
proposed sale contract for the short sale review. Furthermore, the Debtor has not sought the Ch.
7 Trustee’s abandonment of the Property at this time.

Nationstar respectfully requests termination of loss mitigation due to the lack of a complete and
current short sale package in Equator.

If you have any questions, please do not hesitate to contact the undersigned.

Very truly yours,

/sf Katherine Heidbrink

 

Katherine Heidbrink
